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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION

  JEANNE WEINSTEIN, Individually
  and on behalf of all others similarly
  situated under 29 USC 216(b)

        Plaintiff,

  v.                                            Civil No. 2:19-cv-00105-RWS

  440 CORP. d/b/a The Ridge Great
  Steaks & Seafood and STEPHEN
  CAMPBELL

        Defendants.



        PLAINTIFF’S NOTICE OF FILING OPT-IN CONSENT FORMS

       Pursuant to 29 U.S.C. § 216(b), the undersigned counsel files the attached

consents on behalf of the following individuals who opt-in to this action as party-

plaintiffs:

          - James Cope [Ex A]

          - Danielle Burkett [Ex B]

          - Karla Schroth [Ex C]

          - Britteny Mayer [Ex D]


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                                    Respectfully submitted,



                                    By: /s/ Drew N. Herrmann
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                                           ATTORNEYS FOR PLAINTIFF
                                           AND COLLECTIVE MEMBERS


                          CERTIFICATE OF SERVICE

     I certify that on November 27, 2019 a true and correct copy of the above

document will be served on counsel for Defendants via CM/ECF.

                                    /s/ Drew N. Herrmann
                                    Drew N. Herrmann

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                                                                Exhibit A
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                                                                Exhibit B
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                                                                Exhibit C
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                                                                Exhibit D
